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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0343V
                                        UNPUBLISHED


    MICHELLE OVERTON,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: March 7, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Glen Howard Sturtevant, Jr., Rawls Law Group (Richmond), Richmond, VA, for
Petitioner.

Austin Joel Egan, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

      On January 8, 2021, Michelle Overton filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered from a left shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered
on December 12, 2019. Petition at 1. Petitioner further alleges that the vaccine was
administered within the United States, that she suffered the residual effects of her injury
for more than six months, and that there has been no compensation in the form of an
award for settlement of Petitioner’s vaccine-related injury. Petition at 1-3. The case was
assigned to the Special Processing Unit of the Office of Special Masters.


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On February 24, 2023, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent has concluded that Petitioner’s left shoulder injury is
consistent with a SIRVA as defined by the Vaccine Injury Table. Id. at 6. Respondent
further agrees that Petitioner has satisfied all legal prerequisites for compensation under
the Vaccine Act. Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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